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GARY M. RESTAINO FllLED

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Assistant U.S. Attorney

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Attorneys for Plaintiff
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

No CR24-01983 TUC-JAS(LCK)

United States of America,

Plaintiff,

INDICTMENT
Violations:

18 U.S.C. §§ tat) B) and (b)(4)
Influencing Federal Official by Threat
Casey James Purington, Counts | and 2

Defendant. 18 U.S.C. §§ 2261A(2) and 2261(b)

Cyberstalking
Count 3

VS.

THE GRAND JURY CHARGES:
COUNT 1
On or about March 11, 2024, ih the District of Arizona and elsewhere, the defendant,
CASEY JAMES PURINGTON, did threaten to assault and murder Person A, a United
States judge, with intent to retaliate against such judge on account of the performance of
official duties, to wit; CASEY JAMES PURINGTON threatened to kill the judge by saying
that he would hang the judge outside her building.
All in violation of Title 18, United States Code, Sections 115(a)(1)(B) and (b)(4).
COUNT 2
On or about March 7, 2024, in the District of Arizona and elsewhere, the
defendant, CASEY JAMES PURINGTON, did threaten to assault Person A, a United

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States judge, with intent to retaliate against such judge on account of the performance of
official duties, to wit: CASEY JAMES PURINGTON threatened to assault the judge by
saying that he would hit her knees with a baseball bat.

All in violation of Title 18, United States Code, Sections 115(a)(1)(B) and (b)(4).

COUNT 3

From February 7, 2024, to on or about March 15, 2024, in the District of Arizona
and elsewhere, the defendant, CASEY JAMES PURINGTON, with the intent to injure,
harass, and intimidate another person, used any interactive computer service and electronic
communication service or electronic communication system of interstate commerce, or any
other facility of interstate or foreign commerce to engage in a course of conduct that placed
that person in reasonable fear of the death of or of serious bodily injury to a person, and
caused, attempted to cause, or would be reasonably expected to cause substantial emotional
distress to a person, that is: from February 7, 2024, to on or about March 15, 2024,
PURINGTON engaged in a course of conduct wherein he sent messages via email and/or
the telephone to Person A and others that harassed, intimidated, and placed Person A in
reasonable fear of the death of or of serious bodily injury and/or caused substantial
emotional distress to Person A.

All in violation of Title 18, United States Code, Sections 2261A(2) and 2261(b).

A TRUE BILL
/s/

FOREPERSON OF THE GRAND JURY
Dated: April 17, 2024

GARY M. RESTAINO
United States Attorney
District of Arizona

/s/

SARAH B. HOUSTON
Assistant U.S. Attorney

United States of America v. Purington
Indictment Page 2 of 2

